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                         ***NOT FOR PRINTED PUBLICATION***

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 SECURITIES AND EXCHANGE                          §
 COMMISSION,                                      §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §     CIVIL ACTION NO. 4:11cv655
                                                  §     (Judge Clark/Judge Mazzant)
 JAMES G. TEMME and                               §
 STEWARDSHIP FUND, LP,                            §
                                                  §
                Defendants.                       §

  ORDER GRANTING RECEIVER’S THIRD INTERIM APPLICATION TO ALLOW AND
   PAY (1) RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES AND
                                EXPENSES

        Before the court is the Receiver’s Third Interim Application to Allow and Pay (1)

 Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the “Application”)

 [Doc. #245], which requests reimbursement for fees incurred for the time period from January

 1, 2013, through May 31, 2013. The Receiver seeks to pay Bryan Cave LLP (“BC”)

 $154,793.42, representing $149,911.60 in interim fees (80% of $187,389.50 in fees) and

 $4,881.82 in interim expenses (100% of $4,881.82 in expenses).

        No opposition has been filed to this Application. Counsel for the Commission has

 reviewed the fee application and been afforded the opportunity to object, but does not object

 to the relief sought. Based upon a review of the Application and the pleadings on file, the

 court finds and concludes that (a) the relief requested in the Application is in the best interests

 of the Receiver and his receivership estates; (b) proper and adequate notice of the Application


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 has been given and that no other or further notice is necessary; and (c) good and sufficient

 cause exists for the granting of the relief requested in the Application after having given due

 deliberation upon the Application and all of the proceedings had before the court in

 connection with the Application. Therefore, it is hereby ORDERED that:

        I.      The Application is GRANTED.

        ii.     The court approves, on an interim basis, the fees ($149,911.60) and expenses

                ($4,881.82) incurred by the Receiver from January 1, 2013, through May 31,

                2013.

        iii.    The Receiver is authorized to immediately pay BC the total sum of

                $154,793.42, representing $149,911.60 in interim fees (80% of $187,389.50 in

                fees) and $4,881.82 in interim expenses (100% of $4,881.82 in expenses) for

                the time period from January 1, 2013, through May 31, 2013.

               So ORDERED and SIGNED this 30 day of September, 2013.




                                                            ___________________________________
                                                            Ron Clark, United States District Judge




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